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          8                          UNITED STATES DISTRICT COURT
          9                        EASTERN DISTRICT OF CALIFORNIA
         10

         11     THE UNITED STATES OF           )              CASE NO. 05 CR 00343 FCD
                AMERICA,                       )
         12                                    )              ORDER RE: MODIFICATION OF
                          Plaintiff,           )              TERMS AND CONDITIONS OF
         13                                    )              PRETRIAL RELEASE
                     v.                        )
         14                                    )
                ROZA GASPARIAN                 )
         15                                    )
                                               )
         16               Defendant.           )
                                               )
         17     ______________________________ )
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         19            GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED
         20     THAT Defendant Roza Gasparian be permitted to assist her daughter, Kazar
         21     Topchian, in relocating to Salem, Oregon from February 16, 2006 through
         22     February 22, 2006.
         23            IT IS FURTHER ORDERED THAT Ms. Gasparian check in with the
         24     Pretrial Services Office 48 hours before her travel and within 48 hours of her
         25     return. All other conditions of her pre-trial release shall remain the same.
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         27     Dated: January 31, 2006                 /s/Frank C. Damrell, Jr.
                                                       Judge Frank D. Damrell
         28                                            United States District Court Judge
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